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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :      Case No. 1:23-cr-00228-TSC-1
                                            :
STEPHEN ROY SEXTON,                         :
                                            :
                      Defendant.            :


                             MOTION TO STAY SENTENCING

       Defendant Stephen Roy Sexton, through undersigned counsel, moves to stay the sentencing

hearing scheduled for December 16, 2024. The Government opposes this request.

                                         Background

       On July 12, 2023, Mr. Sexton was indicted on charges relating to the events at the U.S.

Capitol on January 6, 2021. ECF No. 1. He was arrested and released on July 19, 2023. ECF No.

5; see also United States v. Sexton, No. 3:23-cr-00564-PJG-1 (D.S.C.).

       On September 11, 2024, Mr. Sexton pled guilty to two misdemeanor offenses, namely (1)

destruction of government property ($1,000 or less), in violation of 18 U.S.C. § 1361, and (2)

disorderly and disruptive conduct in a restricted building or grounds, in violation of 18 U.S.C.

§ 1752(a)(2). ECF No. 41.

       On November 5, 2024, Donald J. Trump was elected President of the United States.

President-Elect Trump has repeatedly stated he will promptly issue pardons and grant clemency to

January 6 defendants. See, e.g., Trump Says He Would 'Absolutely' Pardon Jan. 6 Rioters, PBS

NewsHour, YouTube (July 31, 2024), https://www.youtube.com/watch?v=BR5ewt-ZjkE (last

visited Nov. 21, 2024); Transcripts of Donald Trump's Interviews with TIME, Time (Apr. 12 &

27, 2024) ("[Q:] Will you consider pardoning every one of them? Trump: I would consider that,

yes.   [Q:] You would?      Trump: Yes, absolutely."), https://time.com/6972022/donald-trump-
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transcript-2024-election (last visited Nov. 22, 2024); Transcript of CNN's Town Hall with Former

President Donald Trump, CNN (May 11, 2023) ("I am inclined to pardon many of them."); id.

("[I]f I get in, I will most likely – I would say it will be a large portion of them. . . . And it'll be

very early on."). 1

        Mr. Sexton's sentencing is currently scheduled for December 16, 2024. Thirty-five days

later, on January 20, 2025, President-Elect Trump will be inaugurated and assume office as

President of the United States, thereby receiving the "Power to grant Reprieves and Pardons for

Offences against the United States." U.S. Const. art. II, § 2, cl. 2; see Yelvington v. Presidential

Pardon & Parole Att'ys, 211 F.2d 642, 643 (D.C. Cir. 1954) ("The pardoning power is one which

the Constitution expressly vests in the President.").

                                             Discussion

        A stay is "an exercise of judicial discretion, and the propriety of its issue is dependent upon

the circumstances of the particular case. The party requesting a stay bears the burden of showing

that the circumstances justify an exercise of that discretion." Nken v. Holder, 556 U.S. 418, 433–

34 (2009) (cleaned up).

        A court considers four factors in determining whether to issue a stay: "(1) whether the stay

applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the

applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public interest

lies." Id. at 434. "The first two factors of the traditional standard are the most critical." Id. "Once

an applicant satisfies the first two factors, the traditional stay inquiry calls for assessing the harm




1
 https://perma.cc/HC5Y-3XLT; see generally, e.g., United States v. Trump, 88 F.4th 990, 1012
n.2 (D.C. Cir. 2023) (citing this transcript).
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to the opposing party and weighing the public interest. These factors merge when the Government

is the opposing party." Id. at 435.

       The four factors required for a stay are satisfied. First, Mr. Sexton is likely to receive a

pardon based on President-Elect Trump's repeated statements to pardon January 6 defendants,

particularly those like Mr. Sexton who did not assault law enforcement officers. President-Elect

Trump said he would pardon January 6 defendants "very early on": that timeframe could likely be

his inauguration address on January 20. See Rosemond v. Hudgins, 92 F.4th 518, 527 (4th Cir.

2024) (explaining "the clemency power can be exercised without a writing"); id. ("[T]he President

could proclaim at a press conference in the Rose Garden that he has pardoned a particular

individual, and that would be a valid act under Article II, § 2, Clause 2 of the Constitution, even

absent a writing.").

       Second, Mr. Sexton will suffer irreparable injury absent a stay because the advisory

Sentencing Guidelines range, as currently calculated, is 8 to 14 months' imprisonment. The

injury—going to prison—is "actual and not theoretical." Chaplaincy of Full Gospel Churches v.

England, 454 F.3d 290, 297 (D.C. Cir. 2006). Even a single day in prison will irreparably injure

Mr. Sexton. Thus, "there is a clear and present need for equitable relief to prevent irreparable

harm." Id. (internal quotation marks omitted); see Kotz v. Lappin, 515 F. Supp. 2d 143, 152

(D.D.C. 2007) (recognizing incarceration causes irreparable injury because it is "a deprivation of

one's physical liberty").

       Finally, the Government will not suffer any harm with a pause in Mr. Sexton's sentencing

proceeding, as it is surely in the public's interest not to punish somebody when that punishment

will likely be set aside. See Nken, 556 U.S. at 435 (clarifying the latter two factors for a stay

merge). The Government has opposed continuance requests by arguing "[t]here is a public interest



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in the prompt and efficient administration of justice." United States v. Baker, No. 1:24-cr-00121-

CRC, ECF No. 60 (D.D.C. filed Nov. 11, 2024). This argument ignores the clear relationship

between the public interest and the pardon power.

       The Supreme Court has discussed "the principles of pardons in the law of the United States"

and how the "public welfare" relates to the pardon power:

               A pardon in our days is not a private act of grace from an individual
               happening to possess power. It is a part of the Constitutional
               scheme. When granted it is the determination of the ultimate
               authority that the public welfare will be better served by inflicting
               less than what the judgment fixed. Just as the original punishment
               would be imposed without regard to the prisoner's consent and in
               the teeth of his will, whether he liked it or not, the public welfare,
               not his consent determines what shall be done.

Biddle v. Perovich, 274 U.S. 480, 486 (1927) (emphasis added); see United States v. Flynn, 507

F. Supp. 3d 116, 136 (D.D.C. 2020) (citing Biddle). Importantly, the "executive can reprieve or

pardon all offenses after their commission, either before trial, during trial or after trial, by

individuals, or by classes, conditionally or absolutely, and this without modification or regulation

by Congress." Flynn, 507 F. Supp. 3d at 136 (quoting Ex parte Grossman, 267 U.S. 87, 120

(1925)). Thus, Mr. Sexton could be pardoned before a sentencing hearing occurs or a judgment is

entered.

       Mr. Sexton was arrested and released over a year ago in July 2023. He has been on bond

for almost 500 days. As the Court has noted, Mr. Sexton had some "bumps in the road" during the

early stage of his pretrial supervision. Over the past year, however, Mr. Sexton has complied with

his conditions of release, including maintaining employment. Inauguration Day is less than two

months away. A brief stay is the most prudent course given "the circumstances of the particular

case." Nken, 556 U.S. at 433; see, e.g., United States v. Lang, No. 1:21-cr-00053-CJN-1 (D.D.C.




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Nov. 19, 2024) (granting in part "Motion to Continue Based on Potential Pardon/Clemency," ECF

No. 160).

                                            Conclusion

       Mr. Sexton respectfully moves for this Honorable Court to stay his sentencing. Doing so

will conserve judicial resources and best serve the interests of justice.



                                               Respectfully submitted,

                                               /s/ Edmund G.M. Neyle
                                               Assistant Federal Public Defender
                                               c/o McMillan Federal Building
                                               Florence, South Carolina 29501
                                               Telephone: (843) 662-1510
                                               Attorney ID #: 13832

                                               /s/ Casey P. Riddle
                                               Assistant Federal Public Defender
                                               c/o McMillan Federal Building
                                               Florence, South Carolina 29501
                                               Telephone: (843) 662-1510
                                               Attorney ID#: 12315
                                               Attorneys for Defendant

Florence, South Carolina

November 26, 2024




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